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Attorney for Defendant Ressler Motor


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION


JACOB RHODES,                           Case No.:   CV-21-32-BU-BMM


            Plaintiff,

      vs.                                  NOTICE OF REMOVAL

RESSLER MOTOR COMPANY,

            Defendant.
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      Defendant Ressler Motor Company ("Ressler") removes this matter from the


Montana Eighteenth Judicial District Court, Gallatin County, Montana, to the United

States District Court for the District of Montana pursuant to 28 U.S.C. §§ 1332,

1441, 1443 and 1446. As set forth below, this matter is properly removed because

defendant has complied with the statutory requirements for removal under 28 U.S.C.


§§ 1441 and 1446, and this court has original jurisdiction over this matter pursuant

to28U.S.C.§ 1331.


      Pursuant to the requirements of 28 U.S.C. § 1446(a), Ressler presents the


following short and plain statement of the grounds for removal:


      1. Plaintiff Jacob Rhodes filed this action in the Montana Eighteen

Judicial District Court, Gallatin County, on February 12, 2021 ("State Court

Action"). Pursuant to 28 U.S.C. § 1446(a) and Local Rule of Procedure 3.3(a), true

and correct copies of all papers served in the State Court Action are attached as


Exhibits A through E.

      2. This Notice of Removal is proper because it is being filed within thirty

(30) days of receipt by defendant of "a copy of the initial pleading setting forth the

claim for relief upon which such action or proceeding is based," and is therefore


timely under 28 U.S.C. § 1446(b)(l). The complaint was received by counsel for

Ressler via email on March 11,2021 . Exhibit F. Counsel for Ressler acknowledged




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service on April 1, 2021. Exhibit C. Counsel for Ressler filed a Notice of

Appearance with the Eighteenth Judicial District Court on April 8, 2021. Exhibit D.

Counsel for Ressler also filed with the Eighteenth Judicial District Court the Notice

of Notice of Removal on April 8, 2021. Exhibit E.

      3. This action is properly removed to this court. It is a civil action over


which the United States District Court for the District of Montana has jurisdiction

under 28 U.S.C. § 133 1 because it asserts claims arising under the Constitution, laws


or treaties of the United States as follows:

             a. Plaintiffs complaint alleges violation of Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. Exhibit A (Complaint

and Demand for Jury Trial) at ^1, 2, 19,20.

             b. Plaintiffs complaint alleges violation of Section 1981 of the

Civil Rights Act of 1871, 42 U.S.C. § 1981. Id. at ^1,2,22, 24

      5. This Notice of Removal to the District of Montana is proper because

this district includes Gallatin County, Montana. See 28 U.S.C. § 106.


      6. Pursuant to 28 U.S.C. § 1446(d), defendant will give plaintiff written

notice of the filing of this Notice of Removal and will file a copy of the Notice of

Removal with the Clerk of the Montana Eighteenth Judicial District Court, Gallatin

County, Montana.




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       7. Defendant has satisfied the requirements for removal under 28 U.S.C.


§ 1446 and all other applicable rules.

      WHEREFORE, for all of the foregoing reasons, Ressler respectfully requests

that this court assume full jurisdiction over this cause and that this cause continue to

proceed before this court as an action properly removed.


      DATED this 8th day of April, 2021.

                                      /s/WILLIAM J.MATTIX
                                      CROWLEY FLECK PLLP
                                      Attorneys for Defendant Ressler Motor Company

                          CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served upon the
following counsel of record, by the means designated below, on this 8th day of
April, 2021:

       }L       U.S. Postal Service      Philip A. Hohenlohe
                FedEx                    Law Office of Philip Hohenlohe, PLLC
                Hand Delivery            316 Fuller Avenue
                Facsimile                P. 0. Box 1959
       X.       E-mail                   Helena, MT 59624-1959
                                         phil(%hohenlohelaw.com




                                      /s/ William J. Mattix
                                      CROWLEY FLECK PLLP




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